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                                  VAUGHN INDEX
                WALTER L. GOODWIN V. FEDERAL BUREAU OF PRISONS,
                    Civil Action No. 1:14-CV-01724 KBJ (D. D.C.)

The following item was withheld from Plaintiff upon his FOIA request to the
Bureau of Prisons and his Appeals to the Department of Justice, Office of
Information and Privacy:

Item 1                          Surveillance Video, Recorded October 25, 2013
                     FOIA Request Number: 2014-04855

Number of Pages 1 Video Clip 8 minutes and 35 seconds long

Description                  Video from a security surveillance camera documenting
                     all activity in a particular area of the Psychology Department
                     near the entry point from the general population compound at
                     the United States Penitentiary in Tucson, Arizona (U.S.P.
                     Tucson). This specific segment of coverage depicts the
                     interaction of inmate Goodwin with a Bureau of Prisons
                     psychology staff member and the subsequent response to a
                     request for assistance by that staff member on October 25,
                     2013 between 9:44:16 am and 9:50:50 am. The video clip also
                     reveals the faces of each BOP staff member calling for or
                     responding to the call for assistance.

Exempt/Status        Exempt pursuant to 5 U.S.C. § 522(b)(7)(E) and (7)(F).

Justification               552(b)(7)(F): The video could reasonably be expected to
                     endanger the life or physical safety of any individual. The
                     requested video is surveillance footage recorded by the BOP at
                     the high security United States Penitentiary (USP) in Tucson,
                     Arizona. Closed circuit television is used by staff for live
                     monitoring of inmate activities and the recorded video is used
                     as a tool in investigations. The purpose of the recording is to
                     to deter, prevent and reduce prohibited and criminal acts and
                     is a tool used for the investigation of such activities within the
                     federal penitentiary. The release of the video would be
                     detrimental to the future safety and security of the institution.
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          Public review of the video would allow scrutiny of the quality
          and gaps in video coverage of the video surveillance
          capabilities in this area of the United States Penitentiary, and
          could be used to discern the internal physical layout of this
          area in the United States Penitentiary as well as estimate staff
          response times to request for assistance. This information
          could be used to better anticipate staff’s efforts to prevent,
          respond to and if needed prosecute individuals for actions
          taken by them in future situations, and potentially prolonging
          or thwarting staff’s efforts to maintain a safe and secure
          environment. The release of this video may also endanger the
          staff members who participated in the response to the call for
          assistance, subjecting them to possible retribution in the
          future, especially because their identities have not been
          revealed, but each is clearly identifiable by their faces which
          are clearly visible in the recording. Although the names of staff
          members responding to calls for assistance are not regularly
          revealed to inmates or the public, to the extent their identities
          are known and maintained by the BOP, that information is
          maintained to allow for internal review of any immediate use
          of force and allows for any necessary administrative action to
          be taken.

          552(b)(7)(c): Release of this video could constitute an
          unwarranted invasion of the privacy of the officers involved in
          the incident and response. The video contains images of BOP
          staff who did not give their consent for public release of their
          images.
